Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 1 of 11 PageID 807




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
 ________________________________________
 CORDELL ALLEN, ALIA CLARK,                 )
 PATRICIA DEARTH, CHRIS                     )
 DEPIERRO, JESSICA LEIGHTON,                )
 JESSICA PEREZ, JAMIE RIVERA,               )
 LAYFON ROSU, MARISSA SHIMKO, and )
 CAROL SOMERS, on behalf of themselves and )
 others similarly situated,                 )
                                            )
        Plaintiffs,                         )
 v.                                         )   Case No. 6:16-cv-01603-GKS-KRS
                                            )
 HARTFORD FIRE INSURANCE COMPANY, )
 a Foreign for Profit Corporation,          )
                                            )
        Defendant.                          )
 ________________________________________ )

                             CASE MANAGEMENT REPORT
       The parties have agreed on the following dates and discovery plan pursuant to

 Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):

 DEADLINE OR EVENT                                                       AGREED DATE
 Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P. 26(a)(1) as    April 7, 2017
 amended effective December 1, 2000) [Court recommends 30 days after
 CMR meeting]
 Certificate of Interested Persons and Corporate Disclosure Statement   Already Filed
 [each party who has not previously filed must file immediately]
 Motions to Add Parties or to Amend Pleadings                           May 8, 2017
 [Court recommends 1 - 2 months after CMR meeting]
 Disclosure of Expert Reports                           Plaintiff:      12/5/2017
                                                    Defendant:          1/5/2018
 [Court recommends last exchange 6 months before trial and 1 - 2 months
 before discovery deadline to allow expert depositions]



                                              1
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 2 of 11 PageID 808




 DEADLINE OR EVENT                                                              AGREED DATE
 Discovery Deadline [Court recommends 6 months before trial to allow
                                                                               2/5/2018
 time for dispositive motions to be filed and decided; all discovery must be
 commenced in time to be completed before this date]
 Dispositive Motions, Daubert, and Markman Motions [Court recommends           3/5/2018
 no less than 5 months before trial]
 Joint Final Pretrial Statement (Including a Single Set of Jointly-Proposed    7/9/2018
 Jury Instructions, Verdict Form and Voir Dire Questions emailed to
 chambers_FLMD_Dalton@flmd.uscourts.gov in Word format), Witness
 Lists, Exhibit Lists with Objections on Approved Form) Trial Briefs
 [Court recommends 4 weeks before Final Pretrial Conference]
 All Other Motions Including Motions In Limine [Court recommends 3             7/16/2018
 weeks before Final Pretrial Conference]
 Final Pretrial Conference [Court will set a date that is approximately 3
 weeks before trial]
 Trial Term Begins [Local Rule 3.05 (c)(2)(E) sets goal of trial within 1      8/6/2018
 year of filing complaint in most Track Two cases, and within 2 years in all
 Track Two cases; trial term must not be less than 4 months after
 dispositive motions deadline (unless filing of such motions is waived.
 Estimated Length of Trial [trial days]                                        The estimated
                                                                               length of trial
                                                                               depends on the
                                                                               number of plaintiffs
                                                                               that join the case --
                                                                               it may last several
                                                                               weeks.
 Jury / Non-Jury                                                               Jury
 Mediation                                             Deadline:               9/15/2017
                                                       Mediator:               Jay Cohen
                                                       Address:                981 Mayfield Ave
                                                     Telephone:                Winter Park, FL
 [Absent arbitration, mediation is mandatory; Court recommends either 2 -      32789
 3 months after CMR meeting, or just after discovery deadline]                 407-644-1181

 All Parties Consent to Proceed Before Magistrate Judge                        Yes____ No X

                                                                               Likely to Agree in
                                                                               Future _____

                                             2
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 3 of 11 PageID 809




 I.    Meeting of Parties in Person

       Lead counsel must meet in person and not by telephone absent an order permitting

 otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

 different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), 1 a meeting was held

 in person on February 7, 2017, at 1:30 p.m. at Akerman LLP, 420 South Orange Avenue,

 Suite 1200, Orlando, FL 32801 and was attended by:

                   Name                                              Counsel for (if applicable)

                   Mary E. Lytle, Esq.                               Plaintiff

                   David V. Barszcz, Esq.                            Plaintiff

                   Patrick J. Bannon, Esq.                           Defendant


 II.   Pre-Discovery Initial Disclosures of Core Information

       Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

       Fed.R.Civ.P. 26, as amended effective December 1, 2010, provides that these

 disclosures are mandatory in Track Two and Track Three cases, except as stipulated by

 the parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes

 Middle District of Florida Local Rule 3.05, to the extent that Rule 3.05 opts out of the

 mandatory discovery requirements):

       The parties ______ have exchanged X agree to exchange                         (check one)   information

 described in Fed.R.Civ.P. 26(a)(1)(A) - (D) by April 7, 2017.

       Below is a description of information disclosed or scheduled for disclosure.




         1
             A copy of the Local Rules may be viewed at http://www.flmd.uscourts.gov.

                                                       3
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 4 of 11 PageID 810




         The Parties will disclose all information required by Fed. R. Civ. P.

 26(a)(1)(A)-(D).

 III.    Electronic Discovery

         The parties have discussed issues relating to disclosure or discovery of

 electronically stored information ("ESI"), including Pre-Discovery Initial Disclosures of

 Core Information in Section II above, and agree that (check one):

         __    no party anticipates the disclosure or discovery of ESI in this case;

         X    one or more of the parties anticipate the disclosure or discovery of ESI in this

 case.

         If disclosure or discovery of ESI is sought by any party from another party, then

 the following issues shall be discussed:2

         A. The form or forms in which ESI should be produced.

         B. Nature and extent of the contemplated ESI disclosure and discovery, including

 specification of the topics for such discovery and the time period for which discovery will

 be sought.

         C. Whether the production of metadata is sought for any type of ESI, and if so,

 what types of metadata.

         D. The various sources of ESI within a party's control that should be searched for

 ESI, and whether either party has relevant ESI that it contends is not reasonably

 accessible under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving

 and reviewing that information.



          2
              See Generally: Rules Advisory Committee Notes to the 2006 Amendments to Rule 26(f) and Rule 16.

                                                    4
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 5 of 11 PageID 811




       E.    The characteristics of the party's information systems that may contain

 relevant ESI, including, where appropriate, the identity of individuals with special

 knowledge of a party's computer systems.

       F.    Any issues relating to preservation of discoverable ESI.

       G. Assertions of privilege or of protection as trial-preparation materials, including

 whether the parties can facilitate discovery by agreeing on procedures and, only in the

 unusual event an agreement between the parties is insufficient, an Order under Federal

 Rules of Evidence Rule 502, If the parties agree that a protective order is needed, they

 shall attach a copy of the proposed order to the Case Management Report, together with

 a statement as to why an enforceable agreement between the parties is not sufficient.

 The parties should attempt to agree on protocols that minimize the risk of waiver. Any

 proposed protective order shall comply with Local Rule 1.09 and Section IV.F. below on

 Confidentiality Agreements.

       H. Whether the discovery of ESI should be conducted in phases, limited, or

 focused upon particular issues.

       Please state if there are any areas of disagreement on these issues and, if so,

 summarize the parties' positions on each: NONE AT THIS TIME

       If there are disputed issues specified above, or elsewhere in this report, then

 (check one): NONE

       ___    one or more of the parties requests that a preliminary pre-trial conference

 under Rule 16 be scheduled to discuss these issues and explore possible resolutions.

 Although this will be a non-evidentiary hearing, if technical ESI issues are to be



                                             5
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 6 of 11 PageID 812




 addressed, the parties are encouraged to have their information technology experts with

 them at the hearing.

        If a preliminary pre-trial conference is requested, a motion shall also be filed

 pursuant to Rule 16(a), Fed.R.Civ.P.

        ___    all parties agree that a hearing is not needed at this time because they

 expect to be able to promptly resolve these disputes without assistance of the Court.

 IV.    Agreed Discovery Plan for Plaintiffs and Defendants

        A.     Certificate of Interested Persons and Corporate Disclosure Statement This

 Court has previously ordered each party, governmental party, intervenor, non-party

 movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and

 Corporate Disclosure Statement using a mandatory form. No party may seek discovery

 from any source before filing and serving a Certificate of Interested Persons and

 Corporate Disclosure Statement. A motion, memorandum, response, or other paper

 including emergency motion is subject to being denied or stricken unless the filing party

 has previously filed and served its Certificate of Interested Persons and Corporate

 Disclosure Statement. Any party who has not already filed and served the required

 certificate is required to do so immediately.

        Every party that has appeared in this action to date has filed and served a

 Certificate of Interested Persons and Corporate Disclosure Statement, which remains

 current:                    __X__ Yes

                             _______ No

 Amended Certificate will be filed by ___________ (party) on or before __________

                             date).
                                                 6
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 7 of 11 PageID 813




        B.     Discovery Not Filed

        The parties shall not file discovery materials with the Clerk except as provided in

 Local Rule 3.03. The Court encourages the exchange of discovery requests on diskette.

 See Local Rule 3.03 (f).      The parties further agree as follows: NO ADDITIONAL

 AGREEMENTS AT THIS TIME



        C.     Limits on Discovery

        Absent leave of Court, the parties may take no more than ten depositions per

 side (not per party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Local Rule

 3.02(b). Absent leave of Court, the parties may serve no more than twenty-five

 interrogatories, including sub-parts. Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent

 leave of Court or stipulation of the parties each deposition is limited to one day of seven

 hours. Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on

 discovery. The Court will consider the parties= agreed dates, deadlines, and other

 limits in entering the scheduling order. Fed.R.Civ.P. 29. In addition to the deadlines in

 the above table, the parties have agreed to further limit discovery as follows:

               1.     Depositions

                      The Hartford wishes to depose each Plaintiff. There are currently 38

                      Plaintiffs. Plaintiffs will oppose such a request for a number of

                      reasons and believes that Defendant will have to motion the Court to

                      request more than the ten (10) depositions permitted by the Rules.

               2.     Interrogatories

                      PER THE RULES
                                              7
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 8 of 11 PageID 814




               3.     Document Requests

                      PER THE RULES

               4.     Requests to Admit

                      PER THE RULES

               5.     Supplementation of Discovery

                      PER THE RULES

        D.     Discovery Deadline

        Each party shall timely serve discovery requests so that the rules allow for a

 response prior to the discovery deadline. The Court may deny as untimely all motions

 to compel filed after the discovery deadline. In addition, the parties agree as follows: NO

 ADDITIONAL AGREEMENTS AT THIS TIME

        E.     Disclosure of Expert Testimony

        On or before the dates set forth in the above table for the disclosure of expert

 reports, the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert

 testimony on direct examination at trial will be limited to the opinions, basis, reasons, data,

 and other information disclosed in the written expert report disclosed pursuant to this

 order. Failure to disclose such information may result in the exclusion of all or part of the

 testimony of the expert witness. The parties agree on the following additional matters

 pertaining to the disclosure of expert testimony: NO ADDITIONAL AGREEMENTS AT

 THIS TIME

        F.     Confidentiality Agreements

        Whether documents filed in a case may be filed under seal is a separate issue

 from whether the parties may agree that produced documents are confidential. The
                                               8
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 9 of 11 PageID 815




 Court is a public forum, and disfavors motions to file under seal. The Court will permit

 the parties to file documents under seal only upon a finding of extraordinary

 circumstances and particularized need. See Brown v. Advantage Engineering, Inc., 960

 F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir.

 1985). A party seeking to file a document under seal must file a motion to file under seal

 requesting such Court action, together with a memorandum of law in support. The

 motion, whether granted or denied, will remain in the public record.

       The parties may reach their own agreement regarding the designation of materials

 as confidential. There is no need for the Court to endorse the confidentiality agreement.

 The Court discourages unnecessary stipulated motions for a protective order. The Court

 will enforce appropriate stipulated and signed confidentiality agreements. See Local

 Rule 4.15. Each confidentiality agreement or order shall provide, or shall be deemed to

 provide, that no party shall file a document under seal without first having obtained an

 order granting leave to file under seal on a showing of particularized need. With respect

 to confidentiality agreements, the parties agree as follows: NO ADDITIONAL

 AGREEMENTS AT THIS TIME

       G.     Other Matters Regarding Discovery NONE

 VI.   Settlement and Alternative Dispute Resolution.

       A.     Settlement

              The parties agree that settlement is _____      likely _X__ unlikely

                     (check one)

              The parties request a settlement conference before a United States

 Magistrate Judge.          yes      X       no       likely to request in future
                                             9
Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 10 of 11 PageID 816




        B.     Arbitration

               The Local Rules no longer designate cases for automatic arbitration, but the

 parties may elect arbitration in any case. Do the parties agree to arbitrate?

                   yes           X         no                      likely to agree in future

        _______ Binding                               ________     Non-Binding

        C.     Mediation

               Absent arbitration or a Court order to the contrary, the parties in every case

 will participate in Court-annexed mediation as detailed in Chapter Nine of the Courts Local

 Rules. The parties have agreed on a mediator from the Courts approved list of mediators

 as set forth in the table above, and have agreed to the date stated in the table above as

 the last date for mediation. The list of mediators is available from the Clerk, and is posted

 on the Courts web site at http://www.flmd.uscourts.gov.

        D.     Other Alternative Dispute Resolution

        The parties intend to pursue the following other methods of alternative dispute

 resolution: INFORMAL SETTLEMENT NEGOTIATIONS



 Date: February 28, 2017

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Case 6:16-cv-01603-RBD-LRH Document 122 Filed 02/28/17 Page 11 of 11 PageID 817




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                                      11
